                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                     _____________________________

                          Case No. 6D2023-1331
                   Lower Tribunal No. 2016-CF-4063-B-O
                     _____________________________

                                MARY QUEEN,

                                  Appellant,
                                      v.

                             STATE OF FLORIDA,

                                  Appellee.
                     _____________________________

               Appeal from the Circuit Court for Orange County.
                          Elaine A. Barbour, Judge.

                               August 27, 2024

PER CURIAM.

     AFFIRMED.

SMITH, MIZE and GANNAM, JJ., concur.


Matthew R. McLain, of McLain Law, P.A., Longwood, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Douglas T. Squire, Assistant
Attorney General, Daytona Beach, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
